              Case 23-11302-1-rel                   Doc 1         Filed 12/19/23 Entered 12/19/23 11:11:33                               Desc Main
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Fill in this information to identify the case:

United States Bankruptcy Court for the:

Northern District of New York
Case number (if known)                                                           Chapter 7
                                                                                                                                    Check if this an
                                                                                                                                 amended filing



Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                                 12/15
Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin a case
against a non-individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If more space
is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor's name and case number (if known).

Part 1:     Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed
1. Chapter of the Bankruptcy           Check one:
   Code

                                              Chapter 7
                                       Chapter 11
Part 2: Identify the Debtor
 2. Debtor's name     Prime Capital Ventures, LLC

3. Other names you
   know the debtor
   has used in the last
   8 years

     Include any
     assumed names,
     trade names, or
     doing business as
     names.

4. Debtor's federal Employer
   Identification Number (EIN)
                                        Unknown
                                       EIN

 5. Debtor's address        Principal place of business                                             Mailing address, if different

                            66 S. Pearl Street
                            Number               Street                                                   Number           Street
                            10th Floor
                                                                                                          P.O. Box
                            Albany NY 12207-0000
                            City                                    State       Zip Code                  City                          State          Zip Code

                                                                                                          Location of principal assets, if different from principal
                            Albany                                                                        place of business
                            County
                                                                                                          Number       Street


                                                                                                          City                         State           Zip Code


6.    Debtor's website (URL)           www.primecommerciallending.com

7.    Type of debtor       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
                           Partnership (excluding LLP)
                           Other type of debtor. Specify:
8. Type of debtor's       Check one:
   business
                          Health Care Business (as defined in 11 U.S.C. § 101(27A)
                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)

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                           Railroad (as defined in 11 U.S.C. § 101(44)
                           Stockbroker (as defined in 11 U.S.C. § 101(53A)
                           Commodity Broker (as defined in 11 U.S.C. § 101(6)
                           Clearing Bank (as defined in 11 U.S.C. § 781(3)
                           None of the types of business listed.
                           Unknown type of business.
9. To the best of
   your knowledge,
                           No
                           Yes. Debtor                                                                             Relationship
   are any
   bankruptcy cases
   pending by or                              District                             Date filed                       Case number, if known
   against any                                                                                  MM / DD / YYYY
   partner or affiliate
   of this debtor?

                                              Debtor                                                                Relationship
                                              District                             Date filed                       Case number, if known
                                                                                                MM / DD / YYYY

Part 3: Report About the Case
10. Venue              Check one:


                           Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of business, or principal assets
                             in this district longer than in any other district.
                           A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.


11.      Allegations      Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                          The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                          At least one box must be checked:

                           The debtor is generally not paying its debts as they become due, unless they are in the subject of a bona fide dispute as to liability or
                             amount.
                           Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or agent appointed or authorized to take
                             charge of less than substantially all of the property of the debtor for the purpose of enforcing a lien against such property, was
                             appointed or took possession.

12. Has there been a
    transfer of any
                           No
    claim against the      Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy Rule 1003(a).
    debtor by or to
    any petitioner?

13. Each petitioner's claim Name of petitioner                                      Nature of petitioner's claim                             Amount of the claim
                                                                                                                                             above the value of any
                                                                                                                                             lien
                                 Compass-Charlotte 1031, LLC                                                                                   $15902250
                                                                                                                                               $
                                                                                                                                               $
                                 526 Murfreesboro, LLC                                                                                        $4312500
                                                                                                                                              $
                                                                                                                                              $
                                 Newlight Technologies, Inc.                                                                                  $2500000
                                                                                                                                              $
                                                                                                                                              $
                                                                                                            Total of petitioners' claims $22714750
                                 If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's
                                 name and the case number, if known, at top of each sheet. Following the format of this form,
                                 set out the information required in Parts 3 and 4 of the form for each statement under penalty
                                 of perjury set out in Part 4 of the form, followed by each additional petitioner's (or
                                 representative's) signature, along with the signature of the petitioner's attorney.



Part 4     Request for Relief

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WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a petitioning creditor is a
corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a foreign representative appointed in a foreign
proceeding, attach a certified copy of the order of the court granting recognition.

I have examined the information in this document and have a reasonable belief that the information is true and correct.
     Petitioners or Petitioners' Representative                                  Attorneys


Name and mailing address of petitioner
Compass-Charlotte 1031, LLC                                                              Justin A. Heller, Esq.
Name                                                                                     Printed name

631 Dickinson Ave.                                                                       Nolan Heller Kauffman LLP
Number         Street                                                                    Firm name, if any
Greenville NC 27834-0000                                                                 80 State Street, 11th Floor
City                                       State            Zip Code                     Number      Street
                                                                                         Albany NY 12207-0000
Name and mailing address of petitioner's representative, if any                          City                                          State          Zip Code
                                                                                         Contact phone                                 Email   jheller@nhkllp.co
                                                                                                              518-449-3300                     m
Name
                                                                                         Bar number

                                                                                         State           NY
Number         Street

City                                       State            Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on        December 18,
                     2023                                                                /s/ Justin A. Heller, Esq.
                     MM / DD / YYYY                                                      Signature of attorney
                                                                                         Date signed       December 18, 2023
/s/ Thomas F. Taft, Jr. , Manager                                                                          MM / DD / YYYY
Signature of petitioner or representative, including representative's title


    Petitioners or Petitioners' Representative                                       Attorneys


Name and mailing address of petitioner
526 Murfreesboro, LLC                                                                    Justin A. Heller, Esq.
Name                                                                                     Printed name

526 Murfreesboro Pike                                                                    Nolan Heller Kauffman LLP
Number         Street                                                                    Firm name, if any
Nashville TN 37217-0000                                                                  80 State Street, 11th Floor
City                                       State            Zip Code                     Number      Street
                                                                                         Albany NY 12207-0000
Name and mailing address of petitioner's representative, if any                          City                                          State          Zip Code
                                                                                         Contact phone                                 Email   jheller@nhkllp.co
                                                                                                              518-449-3300                     m
Name
                                                                                         Bar number

                                                                                         State           NY
Number         Street

City                                       State            Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on        December 18,
                     2023                                                                /s/ Justin A. Heller, Esq.
                     MM / DD / YYYY                                                      Signature of attorney
/s/ Dan Cosgrove, Chief Marketing Officer                                               Date signed        December 18, 2023
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                                                                                                         MM / DD / YYYY
Signature of petitioner or representative, including representative's title


    Petitioners or Petitioners' Representative                                      Attorneys


Name and mailing address of petitioner
Newlight Technologies, Inc.                                                             Nolan Heller Kauffman LLP
Name                                                                                    Printed name

14382 Astronautics Dr.
Number        Street                                                                    Firm name, if any
Huntington Beach CA 92647-0000                                                          80 State Street, 11th Floor
City                                       State            Zip Code                    Number      Street
                                                                                        Albany NY 12207-0000
Name and mailing address of petitioner's representative, if any                         City                                          State        Zip Code
                                                                                        Contact phone                                 Email   jheller@nhkllp.co
                                                                                                             518-449-3300                     m
Name
                                                                                        Bar number

                                                                                        State           NY
Number        Street

City                                       State            Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on        December 18,
                    2023                                                                /s/ Nolan Heller Kauffman LLP
                    MM / DD / YYYY                                                      Signature of attorney
                                                                                        Date signed      December 18, 2023
/s/ Steven Petersen, Chief Legal Officer                                                                 MM / DD / YYYY
Signature of petitioner or representative, including representative's title




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